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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

HANGZHOU CHIC INTELLIGENT                              )
TECHNOLOGY CO., LTD., and UNICORN                      )
GLOBAL, INC.,                                          ) Case No. 1:20-cv-04806
                                                       )
                          Plaintiff,                   ) Hon. Thomas M. Durkin
                                                       )
                 v.                                    )
                                                       )
THE PARTNERSHIPS AND                                   )
UNINCORPORATED ASSOCIATIONS                            )
IDENTIFIED ON SCHEDULE A,                              )
                                                       )
                       Defendants.


  MOVING DEFENDANT DONGGUAN SAIBOTAN NENGYUAN KEJI CO, LTD.,
     DONGGUAN DONGXIN BAOZHUANG ZHIPIN CO., LTD., SHENZHEN
  TIANCHENG HONGTAI ELECTRONIC CO., LTD., SHENZHEN YINGGUANG
   ZHINENG TECH. CO., LTD’S REPLY SUPPORTING MOTION TO DISMISS
         THE THIRD AMENDED COMPLAINT WITH PREJUDICE

           Defendants Dongguan Saibotan Nengyuan Keji Co. Ltd, doing business under
  Amazon Seller ID “GYROOR US” (hereinafter the “Saibotan Moving Defendant”),
  Dongguan Dongxin Baozhuang Zhipin Co., Ltd. (hereinafter “Zhipin”) doing business
  under Amazon Seller ID “Tomoloo DX”, Shenzhen Tiancheng Hongtai Electronic Co.
  Ltd. doing business under Amazon Seller ID “Tomoloo TC” (hereinafter “Hongtai”), and
  Shenzhen Yingguang Zhineng Tech. Co. Ltd. doing business under Amazon Seller ID
  “Tomoloo Flagship” (hereinafter “Zhineng”) (the “Tomoloo” Defendants collectively are
  hereinafter referred to as the “Tomoloo Moving Defendants”), (the Saibotan Moving
  Defendant and the Tomoloo Moving Defendants collectively are referred to herein as the
  “Moving Defendants”), reply as follows to Plaintiffs’ Opposition to Moving Defendants’
  Motion to Dismiss the Third Amended Complaint:
           The case law is clear, Plaintiffs’ willful blindness to the known address of these
  Moving Defendants does not provide absolution from the requirements of Article 1 of the
  Hague Service Convention. See, e.g., Advanced Access Content Sys. Licensing Admin.,


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LLC v. Shen, 2018 WL 4757939, at *4–5 (S.D.N.Y. Sept. 30, 2018); Progressive Se. Ins.
Co. v. J & P Transp., 2011 WL 2672565, at *3 (N.D. Ind. July 8, 2011) (citing Opella v.
Rullan, 2011 WL 2600707, at *5 (S.D. Fla. June 29, 2011)); Compass Bank v. Katz, 287
F.R.D. 392, 394–95 (S.D. Tex. 2012) (collecting and discussing cases). Plaintiffs spend
considerable time extolling the virtues of email service. But their refusal to conduct even
the most basic, bare minimum in due diligence under Ar. 1 of the Hague Service
Convention is fatal to their claim that the treaty does not apply. By extension, it also
dooms their argument that service by email is not “prohibited by international
agreements” under Fed.R.Civ. P. 4(f) because the framework of the Hague Service
Convention itself prohibits service of process by email on these Chinese foreign
defendants.
         Plaintiffs intentionally ignored the known and readily confirmable addresses of
Moving Defendants as identified on Amazon storefronts. Apparently, Plaintiffs could
not be bothered with confirming the accuracy of these addresses and treated the
requirements of the Hague Service Convention as an inconvenience. Plaintiffs now seek
to bootstrap the case to this Court’s earlier decisions regarding the application of the
Hague Service Convention. However, the facts and circumstances here could not be
more different from those that existed in Volkswagen, Gianni Versace, and Strabala.
This Court should not countenance Plaintiffs attempt to hide behind a proverbial veil of
self-imposed ignorance in order to avoid compliance with the Hague Service Convention.
    1. Plaintiffs Totally Ignored Hague Service Convention Requirements.
         Plaintiffs contend allowing service by email and publication would be proper in
this case just as it was in the Volkswagen, Gianni Versace, and Strabala cases. See Dkt.
No. 185, at p. 1.        The circumstances underlying those decisions are readily
distinguishable from this case. In Volkswagen, this Court explicitly found the defendants
had an “unknown physical address.” (emphasis added.) See Dkt. No. 185-5, Ex. B to
Binns Dec., p. 3. Volkswagen Group of America, Inc. v. Brandcar Store, et al., No. 20-
cv-3131 (N.D. Ill. Sept. 14, 2020) (Durkin, J.) In Gianni Versace, a case involving
foreign e-commerce stores allegedly selling counterfeit goods to Illinois customers, the
Court again found e-mail service proper where “the defendant has no readily
discoverable physical address.” (emphasis added.) Gianni Versace, S.P.A. v.

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Partnerships, (No. 18-cv-5385 (N.D. Ill. Feb. 27, 2019). In Strabala, the plaintiff first
attempted to comply with requirements of the Hague Service Convention through the
Chinese Ministry of Justice. Approximately nine months later, the plaintiff requested this
Court to allow email service after service in China was not possible. Strabala v. Zhang,
318 F.R.D. 81, 88, 99-100 (N.D. Ill. 2016) (Durkin, J.) The Court properly considered
alternative means for service in that case after the Chinese Ministry of Justice had failed
to effectuate service on the defendants within the six-month time limitations required
under Article 15 of the Hague Service Convention. Id. at 101. Furthermore, after
diligent effort by that plaintiff the address of the defendants in Strabala was also deemed
unknown. Id. at 102, fn. 36.
         The evidence of record shows Plaintiffs did not conduct any due diligence, much
less reasonable diligence, to verify Moving Defendants’ physical addresses.                   Here,
Plaintiffs do not contest, and by their silence all but admit, that they did nothing to verify
the address information provided on Moving Defendants’ Amazon storefronts at
“GYROOR US”, “TOMOLOO TC”, “TOMOLOO DX”, and “TOMOLOO FLAGSHIP”.
Nor do Plaintiffs contend that the Moving Defendants’ address information listed on their
Amazon storefronts is inaccurate. To the contrary, the evidence of record establishes that
these addresses are accurate, and that Moving Defendants may be served at those
locations under the Hague Service Convention. Indeed, nowhere in Mssrs. Yuan’s or
Binns’ Declarations does it state that these Moving Defendants’ addresses were not known
to Plaintiffs.1   The absence of this assertion speaks volumes. The only reasonable
inference that can be drawn from the foregoing facts is that Plaintiffs totally ignored the
service requirements of the Hague Service Convention in this case.
         Unlike in Volkswagen, Gianni Versace, and Strabala, this is not a case where
Moving Defendants’ physical addresses were unknown and not readily discoverable, or
where Plaintiffs had waited six months for the Chinese Central Authority to effectuate
service before seeking court-directed service on the Moving Defendants. Simply put,
Plaintiffs chose to remain ignorant to the Moving Defendants’ addresses by not looking


1
  For unknown reasons, attorney Yuan used imprecise words in ¶9 of his declaration in stating that
“Plaintiffs’ attorneys do not have contact information for many of the Defendants…” (emphasis added.)
Dkt. No. 185-1, Yuan Dec., ¶9, p. 5). No specific mention is made of these Moving Defendants.


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for them. The most basic internet search, which would probably have taken no more than
fifteen minutes to complete, would have revealed the Moving Defendants’ correct
address information, which are listed on the Moving Defendants’ publicly accessible
Amazon storefronts.
         In their Opposition, Plaintiffs also seek to manufacture confusion where none
exists. On January 5, 2021, well after the Court entered its most recent Temporary
Restraining Order in this case, Plaintiffs purportedly purchased a hoverboard from
Tomoloo Official2 at Tomoloo.com. According to Plaintiffs’ attorney Yuan, no shipping
address or return address is identified in any of the email communications from Tomoloo
Official to Plaintiffs. Mr. Yuan adds that on February 26, 2021, a representative from
Tomoloo Official provided a New Jersey “return address” for the hoverboard which a
subsequent Google search allegedly revealed does not exist. See Dkt. 185-7, Yuan Dec.,
¶¶3-10. Mr. Yuan made similar statements regarding the purchase and attempted return
of a hoverboard to Moving Defendant Saibotan. See Dkt. 185-7, Yuan Dec., ¶¶11-17.
Mr. Yuan’s failure to identify Plaintiffs’ representative by name who allegedly purchased
the hoverboard and communicated with Tomoloo Official,                             the     absence of any
documentary evidence of these transactions and communications (e.g., purchase receipts,
confirming and shipping-related emails, etc.) as well as the Google search result itself
allegedly showing the errant “return address” make this “evidence” inadmissible hearsay
under F.R.E. 801(c), 802 and wholly unreliable under F.R.E. 901(a).3 Regardless, this
“evidence” merely deflects from and is irrelevant to the central issue before this Court,
namely how Plaintiffs failed to conduct any due diligence of Moving Defendants’
publicly accessible addresses and otherwise try to comply with the requirements of the
Hague Service Convention.
         Next, Plaintiffs attempt to vilify these Moving Defendants based on the alleged
activity of third parties identified in Schedules A-C to the Third Amended Complaint.
Essentially, without any actual facts or supporting evidence, Plaintiffs request this Court

2
  Notably, Tomoloo Official is not one of the Moving Defendants but rather answered the Third Amended
Complaint on or about February 10, 2021.
3
  The reliability of Plaintiffs’ “evidence” is further disputed by Amazon’s policy for product returns that
calls for a purchaser to ship the returned product to Amazon’s fulfillment center, not to the seller directly.
See https://www.amazon.com/gp/help/customer/display.html/?nodeId=GKM69DUUYKQWKWX7.


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to punish these Moving Defendants by virtue of having been identified by Plaintiffs on
their self-serving list of accused infringers.            The motivation behind this is obvious.
Inconvenienced4 by the due diligence requirements of the Hague Service Convention to
which they did not even pay lip service, Plaintiffs now seek to demonize Moving
Defendants with a version of collective punishment (i.e., attributing the alleged actions of
other accused infringers to Moving Defendants.)                  Countenancing Plaintiffs’ strategy
would render obsolete the Hague Service Convention and violate Fed. R. Civ. P. 4(f).
         Plaintiffs also attempt to confuse the Court with unsupported allegations that
“when [Moving Defendants] are made aware of an action relating to the infringing
products, [Moving Defendants] move assets and change hosting platforms, engaging in
what Plaintiffs have described as a virtual game of Whack-o-Mole.” See Dkt. No. 185, at
p. 1.    Again, Plaintiffs failed to provide evidence that any Moving Defendant has
capriciously moved assets or changed hosting platforms. Plaintiffs’ mere allegations and
attorney argument from the Third Amended Complaint hardly qualifies as “evidence”.
(Third Am. Complaint ¶¶13, 38-40.)
         Plaintiffs next contend there is “evidence” before this Court that “Moving
Defendants actually engaged in the exact type of nefarious activity alleged in the Third
Amended Complaint”, namely switching from one e-commerce platform to another. See
Dkt. No. 185, at p. 2. On closer examination, Plaintiffs’ counsel Yuan’s alleged
“evidence” fails to specifically tie in any way these Moving Defendants to the claimed
conduct. In ¶6 of his Declaration, attorney Yuan misleadingly references “Defendants”
in an attempt to suggest that “Defendants” are the “Moving Defendants”. Yet neither
Plaintiffs nor their counsel have set forth any actual evidence that the identified
storenames (nhtusa, tbbinc, techclic) that allegedly moved platforms from Walmart to




4
  Plaintiffs state “service through the Hague Convention would alert Moving Defendants to the lawsuit,
significantly delay of these proceedings, and allow irreparable harm to continue upon Plaintiffs.” Dkt. 185,
p. 8. But the whole purpose of service of process and issuing a Summons is to notify a defendant of the
existence of a lawsuit. And as discussed throughout this reply, Plaintiffs have set forth no evidence that
they would be irreparably harmed by being required to serve these Moving Defendants in accordance with
Hague Service Convention requirements. Nor have Plaintiffs set forth any evidence to suggest compliance
with the Hague Service Convention resulted in delay (it was not attempted) or would result in excessive
delay (Plaintiffs have offered no evidence that there are current delays exceeding six months to process
Hague Service Convention claims by the Chinese Central Authority due to Covid-19).

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eBay are tied in any way to the storefronts of the Moving Defendants5. See Dkt. 185-1,
Yuan Dec., ¶6, p. 2. Likewise, the eleven storenames identified in ¶7 and the three
storenames identified in ¶8 of the Yuan Declaration, through which accused products
were allegedly sold, are not shown to be tied in any way to the storefronts of the Moving
Defendants.      Indeed, the storenames identified under subpart “D”, ¶8 of the Yuan
Declaration do not reference products bearing “TOMOLOO” or “GYROOR” brands, but
rather “VOYAGER” products. While GYROOR and TOMOLOO product “brands” are
identified in ¶¶6-8 of the Yuan Declaration, there is no evidence that these products were
made or supplied by or through the storefronts of Moving Defendants. 6 Paragraph 7 of
the Binns Declaration likewise seeks to mislead the Court in a similar manner. Mr. Binns
states: “Plaintiffs were informed by counsel for eBay.com store Defendants….that their
supplier could be found at the following website…” This alleged representation by
eBay’s counsel is offered by Plaintiffs for the truth of the matter asserted under
F.R.E.801(c) and is inadmissible hearsay under F.R.E. 802. Plaintiffs’ failure to provide
any information about the identity by name of the witnesses involved in this
communication, the method of communication (e-mail, phone, or otherwise), and
supporting documentation evidencing the communication (if in writing) renders this
“evidence” attributed to eBay’s counsel wholly unreliable under F.R.E. 901(a) and not
subject to any hearsay exceptions. Furthermore, the screenshot banner with the
“GYROOR” designation does not in and of itself evidence that the accused hoverboards
were made or supplied by the storefronts of these Moving Defendants. Finally, ¶9 of the
Yuan Declaration again misleadingly references “Defendants” in an attempt to suggest
that “Defendants” are the “Moving Defendants” in stating there is no “contact
information for many of the ‘Defendants’”. See Dkt. 185-1, Yuan Dec., ¶9, p. 5. As



5
 The Saibotan Moving Defendant operated through storefront “GYROOR US”. The Tomoloo Moving
Defendants operated through storefronts “TOMOLOO DX”, “TOMOLOO TC”, and “TOMOLOO
FLAGSHIP”, respectively.
6
  For similar reasons, ¶¶4-8 of the Cui Declaration is unreliable and inadmissible hearsay under F.R.E.
801(c), 802. Mr. Cui’s failure to identify by name the “intermediary” who allegedly approached him as
stated in ¶4, the manner of communication, the date of communication, which Tomoloo defendants the
“intermediary” purportedly represented, etc., make this “evidence” wholly unreliable under F.R.E. 901(a)
and not subject to any hearsay exceptions. As with Plaintiff’s other “evidence”, the Cui Declaration fails to
identify any facts relating these Moving Defendants to the allegations made.

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discussed above, Plaintiffs most certainly did have contact information for the Saibotan
Moving Defendant and Tomoloo Moving Defendants, they simply chose to ignore them.
    The record is clear. Had Plaintiffs practiced the least bit of diligence, they would
have been able to easily confirm the correct addresses of the Saibotan Moving Defendant
and the Tomoloo Moving Defendants to comply with the Hague Service Convention.


    2. The Hague Service Convention Does Not Permit Email Service on
       Defendants

         Plaintiffs’ method of service is prohibited under the framework of the Hague
Service Convention, despite their argument to the contrary. By extension, it is also
insufficient under Fed. R. Civ. P. 4(f)(3) and 12(b)(5) as being “prohibited by an
international agreement”7. If the Chinese Central Authority has not served process within
the six-month period required by Article 15(b) of the Hague Service Convention, only
then should this Court consider authorizing alternative service under Rule 4(f)(3).
Otherwise, the refusal to follow the requirements of the Hague Service Convention would
constitute an abrogation of the treaty itself, would be tantamount to allowing for service
by a means prohibited by international agreement, and would not comport with the
recognized form of process under international law. Plaintiffs heavily rely on Strabala v.
Zhang in their opposition; however, the defendant in Strabala never argued that service
by email was unauthorized under the Hague Service Convention.
         It is black-letter law that the Hague Convention permits service by specifically
prescribed means: via a central authority (Articles 2-7), diplomatic and consular agents
(Articles 8-9), mail or through a judicial official of the State of destination if the
destination State does not object (Article 10), methods allowed by other applicable
international agreement (Article 11), and other means as allowed by the internal laws of
the destination State (Article 19).             Authorizing email service in this case would
contravene the authorized methods of service under the Hague Service Convention by
disregarding China’s formal objections to service by mail (Article 10) and their own
internal laws against such process (Article 19). Plaintiffs’ request to allow service on the

7
 Plaintiffs misrepresent to this Court that “the [p]arties do not dispute that electronic service is permitted
under Rule 4.” See Dkt. No. 185, at p. 2. To the contrary, Moving Defendants clearly takes the opposing
position throughout their Motions to Dismiss. See Dkt. No. 177, p. 1, fn. 1; p. 14.

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Moving Defendants through their local counsel would also be an unapproved method of
service under the framework of the Hague Service Convention.
         China’s objections under Article 10 are substantially in the form of objections
which courts have routinely determined prevent service by email.           Volkswagenwerk
Aktiengesellschaft v. Schlunk, 486 U.S. 694, 698 (1988); Elobied v. Baylock, 299 F.R.D.
105, 108 (E.D. Pa. 2014); Mapping Your Future, Inc. v. Mapping Your Future Servs.,
Ltd., 266 F.R.D. 305, 308 (D.S.D. 2009); Jian Zhang v. Baidu.com Inc., 293 F.R.D. 508,
515 n.2 (S.D.N.Y. 2013)
         Furthermore, email service is not permitted under Article 19 because China’s
internal laws prohibit serving process by email and prohibit service by website
publication unless a plaintiff has exhausted other means of service. See Art. 87, 92, and
277 of the Civil Procedural Law of the People’s Republic of China (2017 Am.) (“P.R.C.
Civil Procedure Law”). Arguing China’s internal laws are irrelevant to whether service
by email was proper under Fed.R.Civ.P. 4(f)(3) would be tantamount to stating that the
terms of the Hague Service Convention itself (Article 19 in particular) are irrelevant and
may be ignored.      Plaintiffs offer no legal or factual basis for why the findings in
Luxottica Group S.p.A. v. The Partnership and Unincorporated Associations Identified
on Schedule “A”, Case No. 18 CV 2188 (ND Ill. May 24, 2019), Memorandum Opinion
and Order on Defendants’ Motion to Dismiss, pp. 10-14 should not be followed in this
case. Dkt. No. 40, at p. 6, fn. 2.
         Finally, under the Hague Convention’s framework, China officially requires that
“all documents and evidence to be served [in the P.R.C.] must be written in Chinese or
that a translation in Chinese be attached thereto, unless there are contrary prescriptions in
the mutual treaties between China and other Contracting States of the Hague
Convention.” Hague Conference on Private International Law, China – Central Authority
& Practical Information, https://www.hcch.net/en/states/authorities/details3/?aid=243.
None of the documents purportedly served by Plaintiffs via email (including the late-
emailed Summons) were written in Chinese or contained any attached translation in
Chinese. Thus, even assuming email service would have been proper in this case (it was
not for the reasons stated above), the process itself was defective and/or insufficient
under Fed. R. Civ. P. 12(b)(4). Failing to translate the charges and allegations made by

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Plaintiffs against these Moving Defendants into their native Chinese language does
unfairly prejudice the Moving Defendants and violates their due process rights.
         For the foregoing reasons, Moving Defendants’ motions to dismiss Plaintiff’s
Third Amended Complaint should be granted with prejudice and the preliminary
injunction entered by the Court should be vacated as to the Moving Defendants.


Dated: March 10, 2021

                                            Respectfully submitted,



                                            By: /s/ Danielle S. McKinley___
                                                   One of their Attorneys

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                              CERTIFICATE OF SERVICE


          I HEREBY CERTIFTY that on this 10th day of March 2021, I electronically filed
 the foregoing document with the Clerk of the Court using CM/ECF. I also certify that the
 foregoing document is being served this day on all counsel of record either via
 transmission of Notice of Electronic Filing generated by CM/ECF or in some other
 authorized manner for those counsel or parties who are not authorized to receive
 electronically Notice of Electronic Filing.


                                               By: /s/ Danielle S. McKinley______
                                                      Danielle S. McKinley




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